 

 

Case 8:19-bk-01168-RCT Doc 1 Filed 02/13/19 Page 1 of 58

Fill in this information to identify your case: 7 " ’ "'"\

 

   
  

United States Bankruptcy Court for the: §
MIDI)LE nisirici of FLORIDA _ _ f ";j; j" ‘“ z :, ii ?`3
Case number (/fknown); Chapter you are filing under: § n h g *_~M, ny § w
@Chapter 7 § '» § ;
' _e.\iLi~i

n Chapter 11 . §,, i.., twa

   

§ n Chapter12 § .. i,".;}.:,. -_,§ \,_i;;_of_i
§ §»Elw§.chapteria § n Check if this is an

"""""" § amended filing

 

Officia| Form 101 ~ 1 , . '_
Voluntary Petition for lndividuals Fi|ing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

 

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentify Yourself

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Vour full name

Write the nar_ne that is on your Charles
government-issued picture

 

 

identification (for example, m First name

your driver’s license or Noel

paSSpOl't). Middle name Midd|e name
Manning

Bring your picture
identification to your meeting Lan name Las‘ name
with the trustee

 

 

 

 

 

 

 

 

 

 

 

 

 

Suffix(Sr., Jr,, ll, ll|) Suffix(Sr.. Jr., |l, l|I)
2. A|| other names you
have used in the last 8 First name Fi,st name
years
include your married or Middl€ name Mid°"e name
maiden names.
Last name Last name
First name First name
lV|iEETe-n_ame Middle name
Casf name Last name
3. Only the last 4 digits of
. . .. _ 4 _ _
your Soclal Security XXX XX w _ _ ~'-_ XXX XX _~ _- -_ _
number or federal oR oR
individual Taxpayer 9
identification number XX _ XX __ __ _ ___ 9 XX _ XX °'_ _ _ _-
(|TlN)

 

Officia| Form 101 Voluntary Petition for lndividuals Fi|ing for Bankruptcy page 1

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Debtor 1 Charles Noel
First Name Midd|e Name

 

4. Any business names
and Emp|oyer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

Manninz
Last Name

Case number (in<nown)

 

s.~zwmxmmm\wWA'/mmz»:».~»mmwmz>z.<s\<WMWMXXW\\WWM»;;;\\\WM;w»x»-M\»;:W1-m->zzssmM»mM»>>>:-:<->sw:v - »\».Msamz:zz:wzm¢

About Debtor 1:

i have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

[:l l have not used any business names or Ele.

 

Business name

Business name

 

Business name

Business name

 

E|N ElN
M_ ______ EM_ ______
5. Where you live |f Debtor 2 lives at a different address:
7524 Oak Brook Dr
Number Street Number Street
Zephvrhills FL 33540
City State Z|P Code City State ZlP Code
Pasco
County County

 

 

 

 

 

|f your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

 

 

 

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZlP Code City State Z|P Code
s. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

q Over the last 180 days before ming this petition,

l have lived in this district longer than in any
other district

cl | have another reason. Exp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

n Over the last 180 days before Hling this petition,
| have lived in this district longer than in any
other districtl

El i have another reason. Exp|ain.
(see 28 u.s.c. § 1408.)

 

 

 

 

 

 

Officia| Form 101

..'//,'c

Voluntary Petition for individuals Fi|ing for Bankruptcy page 2

Debior 1

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Char|es Noel

First Name

Middie Name

MaLinz

Last Name

Case number immwm

M Tell the Court About Your Bankruptcy Case

`7.

The chapter of the

Bankruptcy Code you
are choosing to file

under

Check one, (For a brief description of each, see Notice Requ/'red by 11 U.S.C. § 342(b) for lndividuals Fi/ing
for Bankruptcy (Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.

'_ Chapter 7
[] Chapter 11
Ci Chapter 12

 

 

 

 

 

 

 

 

 

 

 

§U'?Chapter 13
a. How you will pay the fee l will pay the entire fee when l file my petition Piease check with the clerk’s office in yu
local court for more details about how you may pay. Typicaliy, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address
l need to pay the fee in installments if you choose this option, sign and attach the
App/ication for lndividuals to Pay The Fi//'ng Fee in /nsta//ments (Officiai Form 103A).
Tj l request that my fee be waived (Vou may request this option only if you are filing for Chapter
` 7. By law, a judge may, but is not required to, waive your fee, and may do so only if your
income is less than 150% of the official poverty line that applies to your family size and you
are unable to pay the fee in installments). if you choose this option, you must fill out the
Application to Have the Chapter 7 Fi|ing Fee Waived (Official Form 103B) and file it with your
petitionl
s. Have ou filed for g N
bankruptcy within the y 0
last 3 years? UYSS. District When Case number
NIM / op / YYYV
District When Case number
MM / oo / YYYY
District When Case number
MM / DD / vYYY
10. Are any bankruptcy q No
cases pending or being ?.~.~;
filed by a spouse who is §U'¥es. Debtor Reiazionsiiip to you
not hth th's case w'th District When Case number, ifknown
you, or by a business MM j DD / YYYY
partner, or by an
affiliate?
Debtor Reiationship to you
District When Case number, if known
iviM / co / YVYY

 

 

11.

Do you rent your
residence?

Officiai Form 101

\io. Go to line 12,

§‘/..Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

  

No. Go to line 12.

, v Yes. Fill out lnitia/ StatementAbout an Ev/`ction JudgmeniAga/?)st You (Form 101A) and file itwith
this bankruptcy petition

page 3

Voluntary Petition for individuals Fiiing for Bankruptcy

 

 

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Debtor1 Charles Noel

First Name Midd|e Name

Mallnin2 Case number (irkndwni
Last Name

Report About Any Businesses You 0wn as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time

business?

A sole proprietorship is a
business you operate as an
individuai, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petitionl

a No. Go to Part 4.

(E- Yes. Name and location of business

 

Name of business if any

 

N umber Street

 

 

city stare- zivcode_

Check the appropriate box to describe your business:

§Healih Care Business (as defined in 11 U.S.C. § 101(27A))
…§singie Assei Reai Esiate (as defined in 11 u.s.c. § 101(51\3))
§E'Stockbroker (as defined in 11 U.S.C. § 101(53A))

§E” Commodity Broker (as denned in 11 U.S.C. § 101(6))

§§ None of the above

   

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and

are you a small business
deb or?

For a dennition of small
business debtor, see
11 U.S.C. § 101(51D).

14. Do you own or have any
property that poses or is

alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own an
property that nee s
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

/f you are filing under Chapter 11, the court must know Whether you are a small business debtor so that it
can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement7 and federal income tax return or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

El No_ l am not Hling under Chapter11,

El No. l am filing under Chapter 11, but l arn NOT a small business debtor according to the definition in
the Bankruptcy Code.

cl Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

\/ No
El Yes. What is the hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

 

 

 

Number Street
City State ZlP Code
Officiai Form 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 4

 

 

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Debtor1 Charles Noel

First Name Midd|e Name

15. Te|l the court whether
you have received a
briefing about credit
counseling.

The law requires that you

receive a briefing about credit
counseling before you file for

bankruptcy, You must

truthfully check one of the
following choices. |f you

cannot do so, you are not
eligible to file.

|f you file anyway, the court

can dismiss your case, you

will lose whatever filing _fee
ou gaid_, an our creditors
an egin col ction activities

again.

 

Manninz
Last Name

About Debtor 1:

You must check one:

al received a briefing from an approved credit
counseling agency within the 180 days beforel
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but l do not havea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary Waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along With a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl | am not required to receive a briefing about
credit counseling because of:

n lncapacity. l have a mental illness or amental
deficiency that makes me
incapable of realizing or making
rational decisions aboutfinances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so,

n Active duty. l am currently on active military
duty in a military combat zone.

|f you believe you are not required to receive a
brienng about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Case number (irknawn)

l=a Exp|ain Your Efforts to Receive a Briefing About Credit counseling

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C’| received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement. attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fi|e.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

El lncapacity. l have a mental illness or amental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

Cl Active duty. l am currently on active military
duty in a military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling With the court.

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 5

 

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Debtor 1 Charles Noel Manning Case number (irknow,n
First Name Middle Name Last Name

Answer These Questions for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a persona|, family, or household purpose.”

Cl§ No. co io line 16b.
U:'-: Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

ii No. Go to line 160.
iii Yes. Go to line 17.

1s. What kind of debts do
you have?

 
   

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under

Chapter 7? in No. l arn not filing under Chapter 7. Go to line 18.

Do you estimate that after a Yes. l am iling under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and q No

administrative expenses n

are paid that funds will be Ye$

available for distribution
to unsecured creditors?

 

  
   
 

'49 EU§ 1000-5000 [U“;§zs,ooi-so,ooo

§ 0-99 ]U §5,001-10,000 50,001-100,000
§§10°'199 @10,001-25,000 """ §lvlore than 100,000
20()_999 l

is. How many creditors do
you estimate that you
owe?

 

 

 

   

19. HOW much dO yOU ' O-$S0.000 §$1,000,001-$10 million n $500,000,001-$1 billion

   

estimate your assets fe @“ 50,001-$100,000 §"Cl;$io,ooo,ooi~$so million El $1,000,000,001-$10 billion
be WOrfh? lt'":rj$ioo,ooi~$soo,ooo liljsso,ooo,ooi-$ioo million El $10,000,000,001-$50 billion
{E*;$500,001-$1 million §I$ioo,ooo,ooi~$soo million El More than $50 billion

 

zo_ How much do you §$0-$50,000 EU`$1,000,001-$10 million cl $500,000,001-$1 billion

   

  
    

 

estimate your liabilities ;$50,001-$100,000 _ $10,000,001-$50 million E| $1,000,000,001-$10 billion
to be? §$100,001-$500,000 I $50,000,001-$100 million n $10,000,000,001-$50 billion
500,001-$1 million $100,000,001-$500 million n More than $50 billion
sign Beiow
l have examined this petition, and | declare under penalty of perjury that the information provided is true and
F°r you correct

lf | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or properly by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X&m/@cti/ii/i~/\A? X

Signature of Debtor 1 `) Signature of Debtor 2

Executed on p'i / 1 z mfg Executed on
Mlvi / DD /YYYY NlM/DD /YYYY

 

 

 

Officiai Form 101 Voluntary Petition for lndividuals Fi|ing for Bankruptcy page 6

 

 

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Debtor1 Charles Noel Mannin£ Case number (ifi<nowm

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an lndividua|, to represent yourself in bankruptcy court, but you
bankruptcy With°\lt an should understand that many people find it extremely difficult to represent
attorney themselves successfu||y. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

|f you are represented by _
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to tile another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to tile with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

DNo

'es

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

ElNo

'es

id you pay or agree to pay someone who is not an attorney to help you till out your bankruptcy forms?
No

El Yes. Name of Person 1
Attach Bankruptcy Petition Preparer“s Notice, Dec/aration, and Signature (Ofticial Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

x U\<o,iq \l\“\r\/\`/ x

 

Signature of Debtor 1 } Signature of Debtor 2
Date > l ll z }`©lcl Date
MM/DD /YYYY MM/DD/YYYY
Contact phone 516-754-2304 Contact phone

 

 

Cell phone \S// b -?"'C‘f ,>`3 6 4 Cell phone
Email addressc'q`ézzm é)i &MR} e' /(OM Email address

 

 

 

 

 

 

Officiai Form 101 Voluntary Petition for lndividuals Fi|ing for Bankruptcy

 

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Fill in this information to identify your case:

Debtor 1 Charles Noel Manning

First Name Midd|e Name Last Name

 

Debtor 2
(SpOuSe, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Courtfor the: MIDDLE District of FLORIDA

 

Case number m CheCk if this iS an
('fk"°‘”") amended filing

 

 

Officiai Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115

 

 

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. Fi|l out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ 0
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 150
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 150

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ 7025
3. Schedule E/F: Cred/'tors Who Have Unsecured Claims (Official Form 106E/F)

3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedu/eE/F ............................................ $ 0

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 5903

Your total liabiliiies $ 12928
m Summarize Your lncome and Expenses

4. Schedule l.' Your/ncome (Official Form 106|)

Copy your combined monthly income from line 12 of Schedu/e/ .......................................................................................... $ 1929
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedu/eJ .................................................................................................... $ 2007

 

 

 

Officiai Form 10GSum Summary of Your Assets and Liabilities and Certain Statistica| information page 1 of 2

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Debtom Charles Noel Mannina case number annum

 

First Name Midd|e Name Last Name

m Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

.:o. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
\/ es

 

7. What kind of debt do you have?

WYour debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

§§ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

B. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Officiai
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 1220-1 Line 14. $ 0

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following: y

9a. Domestic support obligations (Copy line 6a.) $ 0

9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0
9c. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ 0
9ol. studeni loans (copy line ef.) $ 0
9e. Obligations arising out_ of a separation agreement or divorce that you did not report as $ 0

priority claims. (Copy line Gg.)

9f. Debts to pension or pront-sharing plans, and other similar debts (Copy line 6h.) + $ 0
99. Tota|. Add lines 9a through 9f. $ 0

 

 

 

 

 

 

Officiai Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnforrnation page 2 of 2

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Fill in this information to identify your case and this filing:

Debtor 1 Charles Noel

Manning

 

First Name Middle Name

Debtor 2

Last Name

 

(SPOL|SS, if fllil'ig) First Name Middle Name
United States Bankruptcy Court forthe;

Case number

Last Name

MIDDLE oistrict of FLORIDA

 

 

Cl check if this is an

 

 

 

Officiai Form 106A/B

 

Schedule A/B: Property

amended filing

12I15

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an lnterest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

No. Go to Part 2.
§u:l`7 Yes. Where is the property?

1. 1.
Street address, if available, or other description

 

 

m L|t" bode_

city

 

County

lf you own or have more than one, list here:

1.2.
Street address if aval ab e, or other descrlpEon

 

 

State ZlP Code

City

 

County

El Dup|ex ormulti-unit building

what ls the property? Check all thai app|y' Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D.'
Crecfltors Who Have Claims Secured by Property

m Cond°ml"lum °r Co°pe'ative Current value of the Current value of the

 

n Manufactured or mobile home entire property? portion you own?
n Land $ $

n investment property

C| Timeshare Describe the nature of your ownership
l;l Other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

l;l Debtor 1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

n Check if this is community property
(see instructions)

 

what is the property? Check an that apply‘ Do not deduct secured claims or exemptions Put

the amount of any secured claims on Schedule D:

El Single-family home
Creditors Who Have Claims Secured by Property

g Dup|ex or multi-unitbuilding

Current value of the Current value of the

n N|anufactured or mobile home entire property? portion you own?

El Land $ $
n investment property
m Timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

Other the entireties, or a life estate), if known.

Who has an interest in the property?Check one.
n Debtor 1 only

n Debtor 2 only

m Debtor 1 and Debtor2 only

n At least one of the debtors and another

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

Officiai Form 106A/B

Schedule AlB: Property page 1

 

 

 

 

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Charles Noel

First Name Middle Name

Debtor 1

MM

Last Name

Case number (irl<nown)

 

1.3.

 

Street address, if available, or other description

 

 

City State ZlP Code

 

County

What is the property? check all that apply.
Single-family home _ 4
Dup ex or multi-unlt building

n Condominium or cooperative

Manufactured or mobile home
Land

n investment property
El Timeshare

El Other

Who has an interest in the property? Check one.

El Debtor 1 only
cl Debtor 2 only

Debtor 1 and Debtor2 only
n At least one of the debtors and another

Other information you wish to add about this item, such as local

property identification number:

Creditors VWro Have Claims Secured by Property-

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:

 

      

tva of iii
portion you own?

entire property?
$___$

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

cl Check if this is community property
(see instructions)

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here.

 

 

 

 

 

Describe Your Vehicles

 

Approximate mileage:

3_1. Make: ___U
Model: Park Avenue
Wa-

Other information:
2001 Buick

 

 

 

 

lf you own or have more than one, describe here:

3_2, Make:
Model:
¥ear:
Approximate mileage:

Other information:

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. lf you lease a vehicle, also report il on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.

g Debtor1 only
Debtor 2 only

El Debtor 1 and Debtor 2 only
n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

E Debtor 1 only
Debtor 2 only

m Debtor 1 and Debtor 2 only
m At least one of the debtors and another

El Check if this is community property (see
instructions)

Credifois Who Have Claims Secured by Pmperty.

 

Current value of the

Credr'tars Who Have CIaims Secured by Property.

Current value of the Current value of the

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:

 

Current value of the

entire property? portion you own?

$ 1684.00 $ 0

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:

entire property? portion you own?

 

 

Officiai Form 106A/B

 

Schedule A/B: Property

page 2

 

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Who has an interest in the property? Check one.

 

 

 

Debtor 1 Charles Noel Manning Case number (irl<nown)
First Name Middle Name Last Name
3.3. Make: wh° has an interest in the Pr°Perty? Check °ne- Do not deduct secured claims or exemptions Put
§. the amount of any secured claims on Schedule D:
Model: VB§B§S:: 3 gm¥ Creditors Wha Have Claims Secured b Property.
Year: debtor 1 and Debtor 2 only Current value of the Current value of the b
- ~ . entire ro ert ? ortion ou own?
Approx'male m'leage- §At least one of the debtors and another p p y p y
Other information:
El Check if this is community property (see $ $
instructions)
3'4_ Make: Who has an interest in the property? Check one. Do neweth secured mims grexemptions_ Pm
5`_ Debtor 1 on| the amount of any secured claims on Schedu!e D;
|V|Odeli Debtor 2 On|z Credl'tors Who Have Claims Secured by Pmperty.
Year: l ¢urrentvalue of the Current value of then
Debtor 1 and Debtor2 only . .
- - . entire ro ert ? ortion ou own?
Appr°x'mate m'leage- l§ At least one of the debtors and another p p y p y
Other information:
m Check if this is community property (see $ $
instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
Yes

4.1. Make: Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Model: g Debtor 1 only Credl`tors Who Have Claims Secured by property
Debtor 2 onl '
Year: y

lf you own or have more than one, list here:

Other information:

 

 

 

 

El At least one of the debtors and another

n Check if this is community property (see
instructions)

 

 

   

em ` or
entire property?

portion you own?

   

 

4'2_ Make: Who has an interest in the property? Check one. Do§notdeduct secured daims or exemptions. Pm

e or on the amount of any secured claims on Schedule D:

lV|Ode|I E BeBt<_-,r § On|i/' Creditors Who Have Claims Secured b P any
Year: Current value of the Current value of the

Other information:

 

 

 

 

cl Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this is community property (see
instructions)

entire property? portion you own?

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

1684.00
you have attached for Part 2. Write that number here $

 

 

 

 

 

 

Officiai Form 106A/B Schedule AlB: Property page 3

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Debtor1 Charles Noel Mannmg Case number (/rknown)
First Name Middle Name Last Name

ga Describe Your Personal and Household items

; _ . _ , _ ' _ _ Current value ofthe
Do you own -or. have any legal or equitabie interest in any of the following items? portion y°u°wn?

Do not deduct secured claims

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exem ptions.
G. Househo|d goods and furnishings
Examples: Major appliances, furniture, |inens, china, kitchenware
m No
§ Yes- Describe -------- Misc. Household Goods - Home $ 50
7. Electronics
Examples.' Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
v No
§WU Yes. Describe .......... $
8. Co||ectib|es of value
Examples.' Antiques and ngurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabi|ia, collectibles
......... NO
§m[j Yes. Describe .......... $
9. Equipment for sports and hobbies
Examples.' Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry too|s; musical instruments
la No
m Yes. Describe .......... $
10. Firearms
Examples.' Pistols, rifles, shotguns, ammunition, and related equipment
NO
,,,,,,,,,, Yes. Describe.......... $
11. Clothes
Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories
_________ NO
m Yes. Describe .......... mothng _ Home $ 100
12.Jewe|ry
Examples: Everydayjewe|ry, costume jewelry, engagement rings, wedding rings, heir|oom jewelry, watches, gems,
go|d, silver
ii No
fm es. Describe .......... $
13. Non-farm animals
Examples.' Dogs, cats, birds, horses
$
14.Any other personal and household items you did not already list, including any health aids you did not list
§§ No
....... ,;Yes. Give speciHc $
information. .............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 150
for Part 3. Write that number here ')

 

 

 

 

 

 

Officiai Form 106A/B Schedule AlB: Property page 4

 

 

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Debtor1 Charles Noel Ma'mmg Case number (ifknown)

 

 

First Name Middle Name Last Name

l=l| Describe Your Financial Assets

Current value of the
portion you own?
Do not deduct secured claims

Do you own or have any !egai or equitable interest in any of the foilowing?

 

  

 

 

 

 

 

 

 

 

 

 

 

or exemptions
16. Cash
Examples.' Nloney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
Cash .............................. $ 2_00
17. Deposits of money
Examples.l Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
§ No
Yes ..................... institution name:
JPMorgan Chase Bank, N.A.
17_1. Checking account $_0_0
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings aocount: $
17.5. Certificates of deposit; $
17.6. Other financial account: 5
17.7. Other financial aocount: $
17.8_ Other nnancia| account $
17.9. Other financial aocount: $
18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage firms, money market accounts
institution or issuer name:
$

 

19. Non-pub|ic|y traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

 

 

 

 

la NO Name of entity: % of ownership:
§_M:j_"_:’Yes. Give specinc %
information about
them ......................... %
%
Officiai Form 106A/B Schedule AlB: Property page 5

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Debtor 1 MNO¢I Mam£ Case number mknowni
First Name Middle Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

§@No

l__,_Yes. Give specific |SSUeF namef
information about
them ....................... $

 
 

 

 

 

21. Retirement or pension accounts
Examples.' interests in lRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

'_ No
gcYes. List each
account separately Type of account: institution name:
401(k) or similar plan: $
Pension plan: $
iRA; $
Retirement account $
Keogh: $
Additlonal account $
Additiona| account: $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples.' Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

a Yes .......................... institution name or individua|:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit; $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture:__ $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
5 No
m Yes .......................... issuer name and description:
$
$

 

 

Officiai Form 106A/B Schedule AlB: Property page 6

 

 

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Debtor1 Charles Noel Man“ing Case number (rknawn)

 

 

First Name Middle Name Last Name

 

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
Yes

 

""""""""""""""""""" institution name and description. Separately file the records of any interests.11 U.S.C. § 521(0):

 

 

25.Trusts, equitable or future interests in property (0ther than anything listed in line 1), and rights or powers
exercisable for your benefit

§UNO

Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

[@No

Yes. Give specific
" information about them.... $

 

  

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Buiiding permits, exclusive licenses, cooperative association hoidings, liquor licenses, professional licenses
I:E No
°“Q Yes. Give specific
information about them.... $

 

 

 

 

 

 

 

 

Money or property owed to you? Current value of the
: f portion you own?
Do riot deduct secured

claims or exemptions

28.Tax refunds owed to you

ENo

§M» Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. .......................

 

 

Federa|:

Local:

 

 

 

29. Fami|y support
Examples.' Past due or lump sum alimony, spousal suppoit, child support maintenance divorce settlement property settlement

HNo

 

 

 

 

  

 

§§ Yes. Give specific information ..............
A|imony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement $

30. Other amounts someone owes you
Examples.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Socia| Security benefits; unpaid loans you made to someone else
' No

Yes. Give specinc information ...............

$

 

 

 

 

 

 

Officiai Form 106A/B Schedule AIB: Property

page 7

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Debtor1 Charles Noel Mannmg Case number (ifknown)
First Name Middle Name Last Name

 

 

 

31. interests in insurance policies
Examples.' Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

§§ No
m yes' Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

§No

v Yes. Give specific information ..............

 

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples.' Accidents, employment disputes, insurance claims, or rights to sue

z“"-O

Yes. Describe each ciaim. ....................

 

  

 

 

 

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to.set off claims

No
Yes. Describe each ciaim. ....................

 

 

 

 

 

35.Any financial assets you did not already list

li§No

_________ Yes. Give specific information.........,.. s

 

 

 

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here 9 5 0_0

 

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
§ No. Go to Part 6.
iii Yes. soto iine 38.

Current value of the
portion you own?

Do not deduct secured claims
or exem ptions. f

38.Accounts receivable or commissions you already earned

§§No

Yes. Describe .......

 

 

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

liable

m Yes. Describe ....... $

 

 

 

 

 

 

 

 

Officiai Form 106A/B Schedule A/B: Property page 8

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Debtor1 Charles Noel Manni"g Case number (rfknawn)

First Name Middle Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

ENO

§ n Yes. Describe ....... $

 

 

 

 

 

  

 

Yes. Describe ....... $

 

 

 

42. interests in partnerships or joint ventures

No

a es. Describe ....... Name Of entity % of Ownership:

% $
% $
% $

  

 

 

43. Customer |ists, mailing |ists, or other compilations

§ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

No
Yes. Describe. .......

 

 

 

 

 

44.Any business-related property you did not already list

luiNo

_ es. Give specific
' information .........

  
 

 

 

 

 

 

 

MM$$$G

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0
for Part 5. Write that number here ')

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You own or Have an interest ln.
if you own or have an interest in farmland, list it iri Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
§ No. co to Part 7.
m Yes. Go to line 47.

   

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

No

Yes .........................

 

 

 

 

 

 

 

 

Officiai Form 106A/B Schedule A/B: Property page 9

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Debtor1 Charles Noel Manning Case number (/rknown)

 

 

First Name Middle Name Last Name

48. Crops_either growing or harvested

 

@No

es. Give specinc
information .............

    

 

 

 

49. Farm and fishing equipment, impiements, machinery, fixtures, and tools oftrade
No

 

 

Yes ..........................

 

 

50. Farm and fishing supplies, chemicais, and feed

mm

 

m Yes ..........................

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
No

 

 

  

es. Give specinc
information .............

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here 9

 

 

 

Describe All Property You own or Have an interest iri That You Did Not List Above

 

53. Do you have other property of any kind you did not already |ist?
gmples: Season tickets, country club membership

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ga No
E'Ei' Yes. Give specific
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number here 9 so__
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 9 $
56. Part 2: Total vehicles, line 5 $ 0
. . 150
57.Part 3: Total personal and household items, line 15 $
58. Part 4: Total financial assets, line 36 $
0
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61. Part 7: Total other property not iisted, line 54 + $L___
62. Total personal property. Add lines 56through 61. .................... $`150'* Copy personal property total -) + $~150_-_

 

 

63. Total of ali property on Schedule AlB. Add line 55 + line 62. .........................................................................................

 

 

 

 

Officiai Form 106A/B Schedule A/B: Property

 

page 10

 

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Fill in this information to identify your case:

Debtor1 Charles Noel Manning

First Name Middle Name Last Name

 

Debtor 2
(SpOuSe, if flii|’ig) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MIDI)LE Disln'ct of FLORIDA

case number Ci check if this is an
("k“°‘”") amended filing

 

 

 

Officiai Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Paif 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1. Which set of exemptions are you ciaiming? Check one on/y, even if your spouse is filing with you.

n You are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b)(3)
El You are claiming federal exemptions. 11 U.S.C. §522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specifi¢ laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this properly portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
Brief 2001 B“i°k 222.01,222.02,222.03 222.05;in
description: ___ $ 1648 a $ ReAvins-w-Bi-;'sstsd-Fia_
Line from 100% of fair market value, up to l982l; ___
Schedule A/B,- 3 any applicable statutory limit
B _ f Clothing C

"e onst. 10-4-
__'l__

description: $Lo__ cl $ ___
Line from 6 a 100% of fair market value, up to

 

Schedule A/B_, --_ any applicable statutory limit
Misc. Household Goods

 

 

 

Brief _ _ $ 50 n $ 222.01,222.02,222.03 222.05',in
description: ___ Re Avinsl 19 Br 736 jsd Fia.
Line from 100% of fair market value, up to lngz);

Schedule A/B,- 11 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

a No
n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Ei No
Ei Yes

 

 

 

Ochia| Form 106C Schedule C: The Property You Claim as Exempt page 1 of _'l

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Fill in this information to identify your case:

Debtor1 Charles Noel Manning

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if fliing) FirstName Middle Name Last Name

United States Bankruptcy Court forthe; MIDDLE District of FLORIDA

Case number
(if known)

 

 

 

Officiai Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

El check if this is an
amended filing

12I15

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

 

fD“Yes_ Fill in all ofihe information below.

List All secured claims

 

l

2. List all secured claims. if a creditorhas more than one secured claim, list the creditor separately
` for each ciaim. if more than orie creditor has a particular ciaim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditors name.

  

 

 

 

 

 

 

 

 

 

 

 

 

31 Mal'illel‘ Filiall€€, LLC Describe the property that secures the claim: $ 2111 $ 1648 $ 2111
C ed't r N
' `° 5 ama _ 001 Buick
8211 Town Center Drive
Number Street
As of the date you file, the claim is: Check ali that appiy.
n Contingent
Baitimore Mi) 21236 n U“"quidafed
city slate zlP code El Disputed
Wh° °We$ the debt? Check one- Nature of lien. Check all that app|y.
g Debtor1 On|y a An agreement you made (such as mortgage or secured
n Debtor 2 only car ioan)
l:l Debtor1 and Debtor 2 only n Statutory lien (such as tax iien, mechanic’s iien)
a At least one of the debtors and another a Judgmem lien from a lawsuit
_ , _ Ei other (including a right to offset) Ge“e"al Secured Debt
l:l Check lf this claim relates to a
community debt 1
Date debt was incurred 9/25/2018 Last 4 digits of account number 8' 9
v enemme Describe the property that secur;hDaE _ $ 4914 $ 1648 $ 4914
Creditors Name _
Po Box 3327 2001 Buick
Number Street

 

 

 

l:l Contingent

El Check if this claim relates to a

community debt 5/1/2018
Date debt was incurred_ Last 4 digits of account number

 

 

As of the date you fiie, the claim is: Check all that appiy.

Evansviiie IN 47732-3327 Ci unliquidated
city state zlP code n Disputed
WhO OweS the debt? Check one. Nature of lien. Check ali that app|y.
n Debtor1 O"|i' m An agreement you made (such as mortgage or secured
a Debtor 2 only car l°an)
n Debtor1 and Debtor 2 only a Statutory lien (such as tax iien, mechanic's llen)
n At least one of the debtors and another n Judgment lien from a lawsuit Genera| Secured Debt
n Other (including a right to offset)

013

 

 

 

 

 

Officiai Form 106D Schedule D: Creditors Who Have Claims Secured by Property

 

page 1 of 1_

 

Case 8:19-bl<-01168-RCT Doc 1

Fill in this information to identify your case:

Debtor 1 Charles Noel

Filed 02/13/19 Page 22 of 58

Manning

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) FirstNeine Middle Name

Last Name

United States Bankruptcy Courtfor the: MIDDLE District of FLORIDA

Case number

 

(|f known)

 

 

Officiai Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORITY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

List All of Your PR|OR|TY Unsecured Claims

El Cneok ifthis is en
amended filing

12/15

 

1. Do any creditors have priority unsecured claims against you?
5 .,_.?§No. co to Part 2.

 

 

eS.

2. List all of your priority unsecured claims. ll a creditor has more than one priority unsecured claim., tist the creditor separately for each claim. For

` each claim listed, identify what type of claim it is. lt a claim has both priority and nonpriority amounts tist that claim here and show both priority and -,
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, titl out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

?l

(For an explanation of each type of cl aim, see the instructions for this form in the instruction booklet.}

 

 

 

 

 

 

 

 

 

 

 

UNo

 

Who incurred the debt? Check one.
Debtor1 only

n Debtor2 only
Debtor1 and Debtor 2 only

n At least one of the debtors and another
Check if this claim is for a community debt
Bthe claim subject to offset?

Yes

m Disputed

Type of PR|OR|TY unsecured claim:
n Domestic support obligations
n Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

n Other. Specify

 

 

Last 4 digits of account number $ $

Priority Creditor's Name
When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply

City State ZlP Code n Commgent
El unliquidated

Who incurred the debt? Check one. n Disputed

n Debtor1 only

El Debtor2 only Type of PR|OR|TY unsecured claim:

§ Deb'°r 1 and Debt°r 2 °"'Y n Domestic support obligations

At leas‘ one of the debtors and another m Taxes and certain other debts you owe the government

n Check if this claim is for a community debt n Claims for death or personal injury while you were

| th l _ b_ tt ff to intoxicated

s e c arm su ]ec o o se . n O`her' Specify

a No

n Yes

2~2 | Last 4 digits of account number _ _ _ $ $

When was the debt incurred?

Number Street i
As of the date you file, the claim is: Check all that apply
n Contingent

City State Z|P Code n Unliquidated

 

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of 7_

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Debtor1 Charles Noel Manning Case number tirkhdwn)
First Name Middle Name Last Name

_Your PR|OR|T¥ Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so fo rth.

 

Priority Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

U Debtor1 only

n Debtor2 only

n Debtor1 and Debtor2 only

n At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
a Yes

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all thatapply_

n Contingent
l:l unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
n Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

n Other. Specify

 

 

 

 

 

Priority Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

m Debtor20nly

\;l Debtor1 and Debtor2 only

n At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim is: Check all thatapply.

m Contingent
Cl unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the govemment

Claims for death or personal injury while you were
intoxicated

Other. Specify

U UUU

 

 

 

 

Priority Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

[:l Debtor 2 only

n Debtor1 and Debtor2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim is: Check all thatapp|y.

n Contingent
Cl unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
Taxes and certain other debts you owe the government

El

m Claims for death or personal injury while you were
intoxicated

El

Other. Specify

 

 

 

 

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pages nfl

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Debtor 1 Charles Noel Mannin Case number (ifl<nowni
First Name Middle Name Last Name

m List All of Your NONPR|OR|TY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?
: i;l No. You have nothing to report in this part. Submit this form to the court With your other schedules
, Yes

§4. List allot your nonpriority unsecured claims' rn the alphabetical order of the creditor who holds each claim. if a creditor has more than one
: nonpriority unsecured claim list the creditor separately for each claim For each claim listed identify what type cf claim it is Do not list claims already
included in Part 1 lf more than one creditor holds a particular claim list the other creditors in Part 3 lf you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2

 

 

 

 

E Credit O"e Ba"k Last 4 digits of account number _46£ _ ___
Nonpri`ority Creditors Name $ 711
P_o_ Box 98873 When was the debt incurred? 8/1/2[)16
Number Street
Las Vegas NV 89193-8873
City State ij Code As of the date you file, the claim is: Check all that app|y.

n Contingent
who incurred the debt? check one. El unliquidated
a Debtor1 only n Disputed
n Debtor2 only
l;l Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another n Swdent loans

n Obligations arising out of a separation agreement or divorce

n Check if this claim is for a community debt that you did not report as priority claims

 

 

 

 

ls the claim subject to offset? \;l Debts to pension or profit-sharing plans, and other similar debts
a No v Other. Specify Credit Card
n Yes
_2 Credit One Bank Visa Last 4 digits of account number _‘14§8_ __ __ $ 989
Nonpriority Creditors Name When was the debt incurred? 2/1/2015
P.o. Box 98873
Number Street
h ' ' ' : .
Las Ve as NV 89193_8873 As oft e date you flle, the claim is Check all that apply

 

City State ZlP Code n Contingent

who incurred the debt? check one. El unliquidated
a Debtor1 only n Disputed

cl Debtor 2 only

n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

 

 

 

 

 

n At least one of the debtors and another n Sfudenf loans

i:l Obligations arising out of a separation agreement or divorce
n Check if this Claim is for a community debt that you did not report as priority claims
ls the claim subject to offset? n Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify Credit Card
a No
n Yes

4-3 | Enhanced Recove Co Last4 digits of accountnumber _ _ _ _
$ 90

When was the debt incurred? 12/1/2014 §
8014 Bayberry Rd l
Number Street l
Jacksonville FL 32256 - - .
City State z|P Code As of the date you file, the claim ls. Check all that app|y.

m Contingent
C| unliquidated
cl Disputed

Who incurred the debt? Check one.
a Debtor1 only
n Debtor2 only

5 Debtor1 and Debtor2 only Type of NoNPRloRlTY unsecured claim:

n At least one of the debtors and another
n Student loans

n Check if this claim is for a community debt El Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
a Debts to pension or profit-sharing plans, and other similar debts

2 N° a Other. Specify Collection
n Yes

ls the claim subject to offset?

 

 

 

Officiai Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page_B_ of l

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Debtor1 Charles Noel Manning
First Name Middle Name Last Name

After listing any entries on this page, number them beginning with 4..4, followed by 4.5, and so fnrth.

§

Case number (ifk,idwn)

Your NONPR|OR|TY Unsecured Claims - Continuation Page

Finwise Bank C/o Opnortunity F
mem

130 E Randolph St Suite 3400
Um El' Fee

 

Chica20 IL 60601
City State ZlP Code
Who incurred the debt? Check one.

d Debtor1 only

n Debtor 2 only

la Debtor1 and Debtor2 only

a At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

 

Last 4 digits of account number BM_ _ $ 1100
When was the debt incurred? 12/1/2018

As of the date you file, the claim is: Check all that app|y.

n Contingent
Cl unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
Other. Specify General Unsecured Debt

 

 

 

 

 

 

 

 

 

 

Indigo Platinum

Nonpriority Creditors Name

 

P.o. Box 4499
'NME>°e'r ree

Beaverton OR 97076-4499
City State ZlP Code
Who incurred the debt? Check one.

6 Debtor1 only

m Debtor 2 only

a Debtor1 and Debtor2 only

n At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

a No
l;l Yes
4.5 . . 9938
_ _ Last 4 digits of account number _ $ 728
lrst r er ank ____
When was the debt incurred? 12/1/2017

P0 Box 5524
qumsef Street

_ As of the date you file, the claim is: Check all thatapply.
Sloux Falls SD 57117-5524
city stale zll= code Cl contingent

El unliquidated
Who incurred the debt? Check one. |:| Disputed
a Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
cl Debtor1 and Debtor2 only l:| Student loans
n At least °“e of the debtors end another cl Obligations arising out of a separation agreement or divorce that
a ch k _f th_ l _ _ f _ d m you did not report as priority claims
ec l ls c a'm ls or a commumty e El Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other_ Specify Credit Card
m No
n Yes
$ 303

Last 4 digits of account number __8_705_

When was the debt incurred? 11/1/2017

As of the date you file, the claim is: Check all that app|y.

n Contingent
Cl unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify Credit Card

 

Of'licia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

page4_ Of L

Debtor 1

Charles Noel

Case 8:19-bl<-01168-RCT DOC 1 Filed 02/13/19 Page 26 of 58

Manning

 

First Name

Middle Name Last Name

Case number (lrkndwn)

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

6a.

6e.

6d.

6e.

6f.

Gh.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Tota|. Add lines 6a through 6d.

Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.

Write that amount here.

6j. Tota|. Add lines 6fthr0ugh 6i.

6a.

6b.

6e.

6d.

6e.

6f.

69.

6h.

6i.

611

 

 

 

 

 

 

Total claim
$ 0
$ 0
$ 0
+ $ 0
$ 0
Total claim
$ 0
$ 0
s 0
+ t 5903
$ 5903

 

 

 

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

pagel Of L

 

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Debtor1 Charles Noel Manning

First Name Middle Name Last Name

   
   

After listing any entries on this page, number them beginning with 4.4, foilowed by 4.5, and so forth.

j

 

Lowe's Advantage/synchrony
y l m

Po Box 965004

Number §treet

Orlando FL 32896-5004
City State ZlP Code
Who incurred the debt? Check one.

d Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

Case number (irknown)

Your NONPR|OR|TY Unsecured Claims - Continuation Page

Last 4 digits of account number _228_ ___ __ $_162
When was the debt incurred? 10/ 1/ 2017

As of the date you file, the claim is: Check all that app|y.

m Contingent
E] Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

0 Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify Credit Card

 

 

 

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

a Debtor1 and Debtor2 only

l:l At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

No
n Yes

a No
n Yes
4_8 . . 3 130 610
Merrick Bank Last 4 digits of account number ___ _ ___ $ _
Nonpriority Creditor’s Name
When was the debt incurred? 7/1/2018
P.o. Box 9201 _
m
As of the date you file, the claim is: Check all that app|y.
Old Bethna£e NY 11804
city state zlP Code El contingent

El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify Credit Card

 

 

Synchron% Bank/amazon
Onpllol'ly re lOl’S ime

Po Box 965013

qum Eef g fleet

Orlando FL 32896-5013
city state zlP code
Who incurred the debt? Check one.

d Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

El At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

 

¢901

 

Last 4 digits of account number _0_414_ _ _
When was the debt incurred? 6/1/2016

As of the date you file, the claim is: Check all thatapply.

l;l Contingent
n Unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debts
Other. Specifv Credit Card

 

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page § of _7__

 

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Debtor1 Charles Noel Manning
First Name Middle Name Last Name

Case number (/mnowni

Your NONPR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

Nonpriority Creditors Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

n Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

\;l Check if this claim is for a community debt
ls the claim subject to offset?

m No
m Yes

4.10
. ` ‘ 81 l
rlc;r?ptr:#] ylsrg l o s ama Last 4 digits of account number __8_ $_306
N_FCT[T"N_
P B 91510 when was the debt incurred? 1/1/2013
0 ox
Number Street
_ As of the date you file, the claim is: Check all that app|y.
Sioux Falls SD 57109-1510
city state zil= code Cl Contingent
El unliquidated
Who incurred the debt? Check one. E| Disputed
5 Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor2 only [:| Student loans
a At leas‘ °“e of the debtors and another n Obligations arising out of a separation agreement or divorce that
_ _ _ , _ you did not report as priority claims
n Check 'f mls c|a'm ls for a commumty debt n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other_ Specify Credit Card
5 No
n Yes
Last 4 digits of account number $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
Cl unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

DU UU

 

 

 

Nonpriority Creditors Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl check ir this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

 

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts
E| other. specify

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of

 

 

 

 

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Fill in this information to identify your case:

Debtor Charles Noel Manning

First Name Middle Name Last Name

 

Debtor 2
(Spouse lf filing) l=iist Name Middle Name Last Name

 

United States Bankruptcy Court forthe; MIDDLEDistrlct of FLORIDA

Case number

iiiknown) El check if this is an
amended hling

 

 

Officiai Form 1066

 

 

Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do_you have any executory contracts or unexpired |eases?
M§No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
n es. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106AlB).

  
  

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contractor lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Number Street
iy a e o e
2.3E
Name
Number Street
bity State L|l-’ bode
2.4§
Name
Number Street
city St_t”a e LiP code
Name
Number Street
city W LlF code

Officiai Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of _(

 

 

 

Case 8219-bk-01168-RCT DOC 1 Filed 02/13/19

Fill in this information to identify your case:

Debtor 1 Charles Noel Maiming

First Name Middle Name Last Name

Debtor 2
(Sp(ll.|$€, if filing) First Name Middle Name Last Name

 

united states Bankruptcy courttorthe: MIDDLE District ot FLORIDA

Case number
(lf known)

 

 

 

Officiai Form 106H
Schedule H: Your Codebtors

 

Page 30 of 58

El check if this is an
amended filing

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. |f two married people
are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the |eft. Attach the Additional page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

 

1, Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

a No
n Yes

n No. Go to line 3.
n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

ElNo

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

n Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

Column 1: Your codebtor Column 2: The creditor .to whom you owe the debt

Check all schedules that apply'.

§
El

Schedule D, line
Name

El Schedule E/F, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number street l;l Schedule G, line
City State ZlP Code
3.2
__ El Schedule D, line
Name __
El schedule l=_/F, line _____
Number street [:l Schedule G, line
City State ZlP Code
3 3
_ Cl Schedule D, line
Name
El schedule E/F, line __
Number street El Schedule G, line
City State ZlP Code

 

 

 

Officiai Form 106H schedule H: Your codebtors page 1 oil

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Fill in this information to identify your case:

 

 

 

Mannin

Debtor 1 Charles Noel g
First Name Middle Name Last Name

Debtor 2

(SpOuse, if filing) First Name Middle Name Last Name

United States Bankruptcy Courtfor the: MIDDLE District of FM

Case number Check if thiS lSZ

(|fknown)
n An amended filing

Cl A supplement showing postpetition chapter 13
income as of the following date:

Officiai Form 106| MM+BBHW*_

Schedule l: Your income izns

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

1. Fill in your employment _ _
information Debtor1 l Debtor 2 or non-filing spouse

 

 

lf you have more than one job,

attach a separate page with “-
information about additional Emp|oyment status § Emp|oyed §El Emp|oyed
employers q Not employed §§ Not employed
lnclude part-time, seasonal, or
self-employed work.

Occupation

 

Occupation may include student
or homemaker, if it applies.

Emp|oyer’s name

 

Emp|oyer’s address

 

Number Street Number Street

 

 

 

City State ZlP Code City State ZlP Code

How long employed there?

m Give Details About Monthly income

Estimate monthly income as of the date you file this form. |f you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. |f you need more space, attach a separate sheet to this form.

For Debtor 1 F or Debtor 2 or
f`li

   

 

.2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0 $
3, Estimate and list monthly overtime pay. 3. + $ 0 + $
4. Ca|cu|ate gross income. Add line 2 + line 3. 4. $ 0 $

 

 

 

 

 

 

 

 

Ochia| Form 106| Schedule l: Your income page 1

 

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Debtor1 Charles Noel Manning Case number <rrknown)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
l Copy line 4 here ............................................................................................... -) 4. $
l
‘ 5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0 $
5b. Mandatory contributions for retirement plans 5b. $ 0 $
5c. Voluntary contributions for retirement plans 5c. $ 0 $
5d. Required repayments of retirementfund loans 5d. $ 0 $
5e. insurance 5e. $0 $
5f. Domesticsupport obligations 5f. $ 0 $
59. Union dues 59. $ 0 $
5h. Otherdeductions. Specify: 5h. + $0 + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $ 0 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $L__ $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 $
monthly net income. 8a.
8b. lnterest and dividends 8b. $ 0 $
8<:. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ 0 $
settlement and property settlement. Bc. ____
Bd. Unemployment compensation 8d. $_0___ $
8e. Social Security 8e. $ 1929 $
8f. other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefrts under the Supp|emental
Nutrition Assistance Program) or housing subsidies
specify; 8f. $ 0 $
89. Pension or retirement income Bg. $ 0 $
8h. Other monthly income. Specify: 8h. + $ 0 + $
9. Add all other income. Add lines 8a + 8b + 80 + Bd + 8e + 8f +Sg + 8h. 9. $ 1929 $
10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $M-_ + $ $1929
11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

speciry: 11. + $ 0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Stat/'st/'cal lnformation, if it applies 12_ $_lL_
Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?
s No.
§§ Yes. Exp|ain:

 

Officiai Form 106| Schedule l: Your income

page 2

 

 

 

Case 8:19-bl<-01168-RCT DOC 1 Filed 02/13/19 Page 33 of 58

Fill in this information to identify your case:

 

 

 

 

 

 

 

Charles Noel Manning
Debtor 1 m Name Middle Name Last Name Check if this is:
D bt 2 .
(S:Ou:;, if filing) First Name Middle Name Last Name g An amended filan
A supplement showing postpetition chapter 13
United States Bankruptcy COUi'ffOi' fhef MIDDLE Distrin Df FLORIDA expenses as Of the following date:
Case number MMTUDTTYYY_
(lfknown)
Officiai Form 106J
Schedule J: Your Expenses 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. is this a joint case?

  

§U“E es. Does Debtor 2 live in a separate househo|d?

   

No
N§ Yes. Debtor 2 must file Ofncia| Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

2. Do you have dependents? va NO _ _ _
§ §§ Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and ' Yes_ Fiii out this information for Debtor1 or Debtor2 age with you?
Debtor 2. ..'? each dependent ..........................
Do not state the dependents
names.

 

 

 

3. Do your expenses include
expenses of people other than
yourself and your dependents?

 

 

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on Schedule I: Your Income (Official Form 106|.) Y°“f expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and

any rent for the ground or lot. 4.

if not included in line 4:

4a. Real estate taxes 4a $ 0

4b. Property, homeowner‘s, or renter’s insurance 4b. $ 0

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0

4d. Homeowner’s association or condominium dues 4d. $ 0

 

Officiai Form 106J Schedule J: Your Expenses page 1

 

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Debior1 Charles Noel Manning

First Name Middle Name Last Name

 

5. Additional mortgage payments for your residence, such as home equity loans

6. Utiiities:
6e. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6e. Telephone, cell phone, |nternet, satellite, and cable services

6d. Other. Specify:

 

7. Food and housekeeping supplies
8. Chi|dcare and children’s education costs
9. Clothing, laundry, and dry cleaning

10. Personai care products and services

11. Medica| and dental expenses

y12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments

13. Entertainment, clubs, recreation, newspapers, magazines, and books

14. Charitab|e contributions and religious donations

15. |nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance Specify:

 

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

17. installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2

17c. Other. Specify:
17d. Other. Specify:

 

 

Case number (rrknown)

 

Ga.

6b.

6c.

6d.

10.

11.

12.

13.

153.

15b.

1 50.

15d.

16.

17a.

17b.

17c,

17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Yourlncome (Official Form 106|).

19. Other payments you make to support others who do not live with you.
Specify:

 

18.

19.

'20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property
20b. Real estate taxes
20c. Property, homeowner’s, or renter’s insurance

20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

 

20a.

20b.

20<:.

20d.

20e.

 

 

Officiai Form 106J Schedule J: Your Expenses

¥our expenses

$0

$0
$0
$154

$0

$0

 

$0

 

$0
$0

 

page 2

 

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Debtor 1 Charles Noel Manning Case number (rrknown)
First Name Middle Name Last Name
21. Other. Specify: 21. +$ 0
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. $ 2007
22b. Copy line 22 (month|y expenses for Debtor 2), if any, from Officiai Form 106J-2 22b. $
220. Add line 22a and 22b. The result is your monthly expenses 22a. $
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule /. 23a. $ 1929
23b. Copy your monthly expenses from line 22c above. 23b. _ $ 2007
23c. Subtract your monthly expenses from your monthly income. $ 78
23c.

The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

 

 

 

 

.§Yes. Exp|ain here:

 

 

 

 

 

 

Officiai Form 106J

Schedule J: Your Expenses

page 3

 

 

 

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Fill in this information to identify your case:

Debtor 1 Charles Noel Manninz

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) FirsiName Middle Name LascName

 

United States Bankruptcy Court for the: MIDDLE District of FLORIDA

Case number
(|f known)

 

El check ifthis is an

 

amended filing

Officiai Form 106Dec
Declaration About an individual Debtor’s Schedules 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

\;id/pu pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
No

n Yes. Name of person . Attach Bankruptcy Petition Prepare/’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, l declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

Signature of Debtor1 / Signature of Debtor 2
t l ) )
Date 54 >O t Ci Date
MM/ DD / YYYY MM/DD/YYYY

 

 

Officiai Form 106Dec Declaration About an individual Debtor’s Scheduies

 

Case 8219-bk-01168-RCT DOC 1 Filed 02/13/19

Fill in this information to identify your case:

Debtor 1 Charles Noel Manning

First Name Middle Name Last Name

 

Debtor 2
(SpOLlSE, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Courtforthe: MIDDLE District of FLORIDA

Case number
(lf known)

 

 

 

Officiai Form 107

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Cl Check if this is an
amended filing

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy 04/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

§§ Married
W.Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

 

gm es. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2:
lived there

n Same as Debtor1

 

Dates Debtor 2
lived there

n Same as Debtor 1

 

 

 

 

 

 

 

 

 

 

 

 

  

No
E`U_ es. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

 

From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
n Same as Debtor1 n Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

 

Exp|ain the Sources of Your income

 

Of&cial Form 107

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 1

 

 

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Debtor 1 Charles Noel Malmm Case number (rinowni
First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

§"@'§No

) 'Yes. Fill in the details.

  

 

 

 

Sources of income Gross income Sources ofiiioome Gross income
Check all that apply. (before deductions and Check atl thatapply. (before deductions and
exclusions) exclusions)
From January 1 of current year until n Wages’ °°.mmissi°"$' $ m Wages' commissions'
the date you filed for bankruptcy: bonuse'S’ ups 4 bonuses‘ ups
n Operating a business n Operating a business
n Wages commissions n Wa es commissions
F t caiend r r: ' - ' g ’ ’
°l' las a yea bonuses tips $ bonusesy tips $
(January1 to December 31, ) n Operating a business Cl operating a business
YYYY
m Wages, commissions ~ -
For the calendar year before that: bonuses tips n :;:%::’scc;i'::“ss'ons'
. . $ ’ $
(January 1 to December 31, ) n Operat'ng a bus'"ess m Operating a business
YYYY

 

5. Did you receive any other income during this year or the two previous caiendaryears?
include income regardless of whether that income is taxable. Examples of other income are alimony; child supporl; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

 

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

   
  

FNo
es. Fill in the details.

 

 

 

 

 

 

Sources of broome Gross income from Sources ofincome Gross income from
Describe below. each 303 "GB Describe below. ' Each 50\"'¢=9
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of currentyear until
the date you filed for bankruptcy:
$
For last calendar year: $ $
(January 1 to December 31, l $ q;
Yva §

 

 

For the calendar year before that:

 

 

(January 1 to December 31,
YYYY

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 2

 

 

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Debtor1 Charles NOel Mamlill£ Case number (ifknown)
First Name Middle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

 

n No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a persona|, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

n No. Go to line 7.

El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

m§ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you H|ed for bankruptcy, did you pay any creditor a total of $600 or more?

 

§No. Go to line 7.

§§ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paidthat
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment ` `
_ $ $ n Mortgage
Creditofs Name
n Car

cl Credit card

 

Number Street
n Loan repayment

 

cl Supp|iers or vendors

 

 

 

 

 

n Other
City State ZlP Code
$ $ n Mortgage
Creditofs Name
cl Car

n Credit card

 

Number Street
n Loan repayment

n Supp|iers or vendors

 

 

 

 

 

cl Other
City State ZlP Code
$ $ cl Mortgage
Creditor’s Name
El car
n Credit card

 

Number Street
n Loan repayment

n Supp|iers or vendors

 

ll other

 

City State ZlP Code

 

 

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 3

 

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Debtor1 Charles Noel Mannin2 Case number (irknowm
First Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in contro|, or owner of 20% or more of their voting securities; and anymanaging
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

§M“No

§'E_§ Yes. List all payments to an insider.

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
_ $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

 

|nsider’s Name

 

Number Street

 

 

City State Z|P Code

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
include payments on debts guaranteed or cosigned by an insider.

§VNo

n Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid °‘”° 'n<>wde<=ed'w"s"ame
lnsidefs Name $ $
Number Street
City State Z|P Code
$ $

 

 

|nsider’s Name

 

Number Street

 

 

 

City State ZlP Code

 

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 4

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Debtor1 Charles Noel Manning

Case number (immwn)
First Name Middle Name Last Name

 

identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes

§§ No
Yes. Fill in the details

 

 

 

 

 

 

 

 

 

 

 

Court or agency Status of the case
Case title Coun Name n Pending
n On appeal
Number Street n COnC|uded
Case number
City State ZlP Code
Case title own Name n Pending
n On appeal
Number Street n Conc|uded
Case number
City State ZlP Code

 

 

10. Within 1 year before you filed for ban kruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and fill in the details below.

 

§§ No. Go to line 11.
_ l , Fill in the information below.

 

Describe the property - Date Value of the property

 

 

Credttors Name ___ $

 

Number Street

l:l Property was repossessed.
El Property was foreclosed
Cl Property was garnished

 

 

City State ZlP Code

 

 

 

Describe the property Date Vatue of the propert

   

 

Creditors Name

 

Number street …. - . .............
Explaln what happened

n Property was repossessed

 

El Property was foreclosed
n Property was garnished

 

why u\au: ¢.lr \./uuv

n Property was attached seized, or levied

 

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 5

 

 

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Debtor 1 Charles Noel Ma"nmg Case number (irknown)

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

§E,No

El Yes. Fill in the details

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name `
$
Number Street
City State ZlPCOde Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

q No

Cl Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

lEAWNQ

lEl Yes. Fill in the details for each gift

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than 3500 Describe the gifts Dates you gave Value
per person the gifts
. $
Person to Wnom Vou Gave the Gift
$
Number Street
City State ZlP Code
Person‘s relationship to you
thts with a total value of more than 5600 Describe the gifts Dates you gave Value
Pe"-P‘-"S°“ ............................................................................................... the gifts
. $
Person to Whom You Gave the Glft
$
Number Street
City State ZlP Code

 

Person’s relationship to you

 

 

 

Officia| Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 6

 

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Debtor1 _C_lla_lies N0el Mannin£ Case number (ifknawni
First Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNO

U Yes. Fill in the details fcr each gift cr contribution

 

 

 

 

Gifts or contributions to charities Describe what you contributed . Date you Value
that total more than $600 ` contributed
$
Charity’s Name
$
Number Street
city State zlP code

 

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

  

Nc
§CT Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss DB¢E nym"’ Value of Propelfy

how the loss occurred . _ _ _ _ ` loss lost
include the amount that insurance has paid l_lst pending insurance

claims on line 33 of Schedule A/B: Property.

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
lnclude any atlorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

v§:~'ENO

Yes. Fill in the details.

   

 

 

 

Description and value of anyproperty tiansferred Date payment or Amount of payment
transfer was
Person Wh<> Was Paid made
Number Street $
$

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

Officia| Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 7

 

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Debtor 1 £l_lt_l_l_‘l_e_SrNOGl Mannin£ Case number (ifknewni
First Name Middle Name Last Name
Description and value of any property transferred ` Date payment or Amount of

transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

WNQ

El Yes. Fill in the details

 

 

Description and value of any property transferred Date payment or Amou nt of payment
transfer was
made
mmm______ .. ,_' ,. ............................................................... _ v v _____________
NUmDel' dlfeef $

18. Within 2 years before you filed for bankruptcy.,,.did.y.ou.sell,.trade,.or.otbemise..transfer,any..p.roperty..td anyone, other than property
transferred in the ordinary course of your business or financial affairs?

lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your propelty).

Do not include gifts and transfers that you have already listed on this statement.

  

Description and value of property Describe any property or payments received Date transfer
transfer or debts paid in exchange was made

PSI'SUHWHU'REUEW€\TTTEHS?EY__

 

Number Street

 

Qily_._____§lat§_Zl.BQn.d.e_

Person’s relationship to you

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State Z|P Code

 

Person‘s relationship to you

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 8

 

 

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Debtor 1 ___Charles Noel Man_£nin Case number (in<nawn)
First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

 

Cl Yes. Fill in the details

Descriptlon and value of the property transferred Date transfer
was made

 

Name of tn.lst

 

 

 

 

List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

WNO

Yes. Fill in the detai|s.

 

 

 

 

 

 

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed soid, moved, closing or transfer
or transferred
Name of Financial institution xxxx_ n Checking $
Number Street n Savings
m Money market
n Brokera e
9
city state zlP code m other
XXXX- n Checking $
Name of Financial institution
cl Savings
NUNUET`$?|’¥E\"°__’ n Money market
n Brokerage
city state zlP code n other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

FM, No
.El.i Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

...... Who else had access to it? Describe the contents Do you still
have it?
n No
Name of Financial institution Name n Yes
Number Street Number Street
City State ZlP Code
City State ZlP Code

 

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 9

 

 

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Debtor1 _QllLleS NO¢| Mal_\!l£l£ Case number (lfknawni
First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
________ N°
Cl Yes. Fill in the details.

  

 

Who else has or had access to it? Describe the contents » Do you still
.......................................................................... have it?
3 n No
Name of Storage Faci|ity Name n yes
Number Street Number Street

 

 

City State ZlP Code

39 08

 

identify Property You |'Iold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

b No

lCl Yes. Fill in the details.

  

Where is the property? Describe the property Value

 

Owner’s Name $

 

Number Street
NumBer S`fre€t

 

 

 

City State ZlP Code
a e o e

 

Part 10: Give Detaiis About Environmental information

 

For the purpose of Part10, the following definitions apply:

s Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, ormaterial.

§ Site means any |ocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

s Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, pollutant, contaminant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardless of when they occurred

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

vEl Yes. Fill in the details.

 

 

 

 

Govemmentai unit Envtronmentai law, if you know it Date of notice
Name of site Govemmenta| unit
Number Street Number Street
City State ZlP Code

 

 

 

City State ZlP Code

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 10

 

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Debtor1 Charles Noel Manning Case number wknown)

First Name Middle Name Last Name

 

 

25. Have you notified any governmental unit of any release of hazardous material?

WN°

E] Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Govemmenta| unit
Number Street “""”E‘ s““‘
City State ZlP Code

…

 

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? lnclude settlements and orders.

 

 

 

 

 

NO
"El* Yes. Fill in the details
Court or agency Nature of the case Swms of the
...... .. .. . . case

Case title

Court Name n Pendmg
m On appeal

Number Street _ n Concluded

Case "“"‘be' city state zchode

 

Give Details About Your Business or Connections to Any Business

 

n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time orpart-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)

a A partner in a partnership

n An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

IMZ No. None of the above applies. Go to Part12.
El Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Emp|oyer ldentilication number
Do not include Social Security number or thN.

 

Business Name

 

   

 

 

 

E|N:__ __________
Number Street

Dates business existed

From To
City State zlP code

Descrlbethenature°fthebusmess . Emr,!'°ye,r.ldent,ili§,atio" number

 

Do not include Social Security number or lTlN.

 

Business Name

 

 

 

ElN:___ ____________
Number Street
..... Name.of.accountantor.bookkeeper.........................._._._._._..._............ Dates business existed
From To
City State ZlP Code

 

 

 

 

 

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 11

 

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Debtor1 Charles Noel Mam\in£ Case number (ifknowm
First Name Middle Name Last Name

 

 

Employer ldentiiication number
Do not include Social Security number orlTlN.

Describe the nature of the business

 

Business Name

 

 

 

ElN:___ __________
Number street ', . . ' d
Name of accountant or bookkeeper Dates business existed
From To
city state zlP code 5

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties.

N°
El Yes. Fiii in the details below.

Date issued

 

Name MM l DDlYYYY

 

Number Street

 

 

City State ZlP Code

m Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.

18 U. S. C. §§ 152, 1341, 1519, and 3571.

X (X/\,v_#/QM\)\\/\/\-/\// x

Signature of Debtor 1 Signature of Debtor 2

DateB/H!?`@)? Date

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

ga No
Cl Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

 

n Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declarat/'on, and Signature (Official Form 119).

 

 

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy l page 12

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Fill in this information to identify your case:

Charles Noel Manning

First Name Middle Name Last Name

Debtor 1

 

Debtor 2
(SpOl.lSe, if filing) First Name Middle Name Last Name

MIDDLE District of FLoRrDA

 

United States Bankruptcy Courtforthe:
Case number m Check lithiS iS an
<ifknown) amended filing

 

 

 

Officiai Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

|f you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set forthe meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. |f more space is needed, attach a separate sheet to this form. On the top of any additional pag es,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property(Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule 0?
CrediiAOr’S Onemain Financial E':_"_§Surrender the property,

 

E:U§Retain the property and redeem it.

§U.§Retain the property and enter into a
Reaff/'rmation Agreement.

f:m\/ Retain the property and [explain]: Exempt

Description of
property
securing debt:

2001 Buick

 

 

C d'i ’ . - '
re l or s Marlner Finance, LLC §@_jrrrender the property.

"""" ` §§ Retain the property and redeem it.

D;SC;:§;'°" of §"E Retain the property and enter into a
p p """"""""" Reaffirmat/on Agreement.

securing debt:
§”V§Retain the property and [exp|ain]: Exempt

 

2001 Buick

 

Creditor’s
name:

 

_________ Surrender the property.
m Retain the property and redeem it.

w Retain the property and enter into a
Reaffirmation Agreement.

§U§ Retain the property and [exp|ain]:

 

Description of

Property
securing debt:

 

 

 

 

 

 

 

 

Creditors ` Surrender the property. No
name: ` .......... § l

m Retain the property and redeem it. Yes
D;S‘::$;'on °f m Retain the property and enter into a
p p Reaff/'rmation Agreement.

securing debt:
m Retain the property and [exp|ain]:

 

 

 

 

Officiai Form 108 Statement of intention for lndividuals Filing Under Chapter 7 page 1

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Charles Noel Manning

Debtor1 Case number (/fknown)

 

 

First Name Middle Name Last Name

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor‘s name:

 

 

Description of leased
property:

 

Lessor's name:

 

 

Description of leased
property:

 

Lessor‘s name:

 

 

Description of leased
property:

 

Lessor’s name: m No

§:|;[,§Yes

 

Description of leased
property:

 

Lessor‘s name: §E[“NO

 

 

Description of leased
property:

 

Lessor’s name:

 

 

Description of leased
property:

 

Lessor’s name: E:~No

 

Description of leased
property:

 

 

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

Signature of Debtor 1 Signature of Debtor 2
l l
Date L/ / >O) $` Date
MM/ DD / YYY¥ Mivi/DD/YYYY

Officiai Form 108 b Statement of intention for individuals Fi|ing Under Chapter 7 page 2

 

 

Case 8:19-bl<-01168-RCT DOC 1

Fill in this information to identify your case:

Charles Noel Manning

Middle Name

Debtor1

 

First Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: MlDDLE District of FLORIDA

Case number
(|f known)

 

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Check one box only as directed in this form and in
Form122A-1Supp:

q§.1 There is no presumption of abuse.

512 The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculat/'on (Official Form 122A-2).

m3 The Means Test does not apply now because of

qualified military service but it could apply later.

 

 

Officiai Form 122A-1

 

Chapter 7 Statement of Your Current Monthiy income

Cl check irihis is an amended filing

12I15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being ac curate. |f more
space is needed, attach a separate sheet to this form. lnclude the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). lf you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of

Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

m Calculate Your current Monthiy income

 

§
§ 1. What is your marital and filing status? Check one only.

a Not married. Fill out Column A, lines 2-11.

 

§ Cl Married and your spouse is NOT filing with you. You and your spouse are:

§ C]
i
,

El Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
El Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare

s under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
§ spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For exampie, if you are nling on September '1`5, the 6-month period would be March 1 through
August 31. if the amount of your monthiy income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fiil in the result Do not include any income amount more than once. For exam ple, if both spouses own the same rental property, put the
income from that property in one column on|y. if you have nothing to report for any line1 write $0 in the space

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions).

3. A|imony and maintenance payments. Do not include payments from a spouse if
Column B is filled in.

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. lnclude regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3.

5. Net income from operating a business, profession,

 

 

 

 

Debtor 1 Debtor 2

or farm

Gross receipts (before all deductions) $____0 $__

Ordinary and necessary operating expenses - $ 0 - $

Net monthly income from a business, profession, or farm $ 0 $ Copy
6. Net income from rental and other real property Debtor1 Debtor2

Gross receipts (before all deductions) $ 0 $

Ordinary and necessary operating expenses - $ 0 - $

Net monthly income from rental or other real property $ 0 $ Copy

 

7. |nterest, dividends, and royalties

here9

here9

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
$ 0 $
$ $
$ 0 $
$ 0 $
__Q
$ 9

 

Ochial Form 122A-1

Chapter 7 Statement of Your Current Monthly income

page 1

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Debtor1 Charles Noel Mann£g case number miami
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0 $

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. lnstead, list il here: .............................

For you ............................................................................... $
For your spouse ................................................................ $
9. Pension or retirement income. Do not include any amount received that was a
benth under the Social Security Act. $ 0 $

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Acl or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

 

0$

Total amounts from separate pages, if any. + $ + $

 

 

 

11. Calculate your total current monthly income. Add lines 2 through 10er each + ___
column. Then add the total for Column A to the total for Column B. $ 0 $ $ 0

 

 

 

 

 

 

o a curren
monthly income

m Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

   

12a Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here')
Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form.

13. Calculate the median family income that applies to you. Fo||ow these steps:

 

Fill in the state in which you live. FLOR!DA

 

 

Fill in the number of people in your household 1

 

 

 

 

Fill in the median family income for your state and size of household ............................................................................................. 13. $M

To find a list of applicable median income amounts, go online using the link specihed in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's oche.

 

 

 

14. How do the lines compare?

uaw Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

unifle Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

m Sign Below

By signing here. l declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

X &h<»fo \/\\l\/\/\j x

 

Signature of Debtor 1 Signature of Debtor 2
Date ll {, § >` p/ j Date
MM/ DD /VYYY MM/DD/YYYY

lf you checked line 14a, do NOT till out or file Form 122A-2.
lf you checked line 14b, till out Form 122A-2 and tile it with this form.

 

 

Officiai Form 122A~1 Chapter 7 Statement of Your Current Monthly income page 2

 

 

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FB 201A(F0rm 201A)(11/12)

 

UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (l) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case,

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition, In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of`
all notices.

1. Services Avaiiable from Credit Counseling Agencies

With limited exceptious, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Intemet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies Each debtor in a joint
case must complete the briefing

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The F our Chapters of the Bankruptcy Code Avail_z_lbie to Individual Cor£qmer Debtors

Chapter 7 : Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If` your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law, A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny

 

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Form B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Avgiiabilitv of Bankruptcy Papers to Lz_lw Enforcement Officiils_

 

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form BZOO, which is posted at
him :/."'ww‘vv. uscourts . go'v/'bkforrrrs,/"barri\;rupto v form s.i'it'rrii# procedure .

 

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B 201B (Form 2013) (12/09)

UNITED STATES BANKRUPTCY CGURT

MIDDLE District Of FLORIDA

m re Manning, Charles (\i§c:_l¢ Case NO_

Debtor
Chapter 7 /'TL

 

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

rrmted name and title, rt any, or bankruptcy Fetltion Preparer social becurity number tit the bankruptcy petltlon
Address: preparer is not an individual, state the Social Security
number of the officer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
X by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above,

Certification of the Debtor
I (We), the debtor(s), affirm that 1 (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy

 

 

Code.
/ /
Cti/kthbaz /\)r>eu iii/w m /\/ <r X(/iAw/@~ V…A“\j )/”./3*9 /q
Printed Name(s) of Debtor(s) Signature of Debtor Date
Case No, (ifknown) X

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Officiai Form Bl. Exhibit B on page 2 of Form Bl contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification

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United States Bankruptcy Court
MIDDLE District Of FLORIDA

IN RE. Manning, Charles /\)QE" "

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true
and correct to the best of my/our knowledge and that it corresponds to the creditors listed

in my/our schedules

Date; el ii l>oi@i w\/uv\~/\'/H

Debtor 2

 

Jomt Debtor

 

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Credit One Bank
P.O. Box 98873
Las Vegas NV 89193-8873

Credit One Bank Visa
P.O. Box 98873
Las Vegas NV 89193-8873

Enhanced Recovery Co
8014 Bayberry Rd
Jacksonville FL 32256

Finwise Bank C/o Opportunity F
130 E Randolph St

Suite 3400

Chicago IL 60601

First Premier Bank
PO Box 5524

Sioux Falls SD 57117-5524

Indigo Platinum
P.O. Box 4499
Beaverton OR 97076-4499

Lowe's Advantage/synchrony
PO Box 965004

Orlando FL 32896-5004

Mariner Finance, LLC
8211 Town Center Drive
Baltimore MD 21236

 

 

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Merrick Bank
P.O. Box 9201
Old Bethpage NY 11804

Onemain Financial
PO Box 3327
Evansville IN 47732-3327

Synchrony Bank/amazon
PO Box 965013
Orlando FL 32896-5013

Total Visa
PO Box 91510
Sioux Falls SD 57109-1510

